
Department II of the Court, composed of Chief Justice Fairhurst and Justices Madsen, Stephens, Gonzalez and Yu, considered at its September 4, 2018, Motion Calendar whether review should be granted pursuant to RAP 13.4(b) and unanimously agreed that the following order be entered.
IT IS ORDERED:
That the petition for review is denied. Respondents Robert Fanfant and Melanie Bishop's request for attorney fees for filing an answer to the petition for review is granted. Respondents Fanfant and Bishop are awarded reasonable attorney fees and expenses pursuant to RAP 18.1(j). The amount of the attorney fees and expenses will be determined by the Supreme Court Clerk pursuant to RAP 18.1. Pursuant to RAP 18.1(d), Respondents Fanfant and Bishop should file an affidavit with the Clerk of the Washington State Supreme Court.
For the Court
/s/ Fairhurst, C.J. CHIEF JUSTICE
